                      Case 1:19-cr-10040-JTF Document 126-1 Filed 10/01/19 Page 1 of 4                                                                                                                  PageID 2361
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a0BbiAc9XvcpxlVz7P5dTqkR0hva3P4pHNTkgOIWL_zbYSDnP0HxQq3EFbkrGKhF0wW42A4zpwkaS7pUmvaJ0te2_CEONQM3vjOzbTS332yTk-
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story/the-many-faces-of-pride/)




                  Feds: 'Rock Doc' Jeff Young prescribed opioids to
                  undercover cops without exam, should stay in jail
                     Cassandra Stephenson, Jackson Sun                    Published 1:10 p.m. CT Sept. 24, 2019 | Updated 1:14 p.m. CT Sept. 24, 2019



     A West Tennessee nurse practitioner known as the "Rock Doc" prescribed controlled drugs to undercover female officers amid casual banter about
     marijuana, drinking and parties in recently detailed undercover footage.

     Jeffrey W. Young II is accused of trading addictive drugs for sex and notoriety (/story/news/health/2019/05/06/tennessee-rockdoc-jeffrey-young-sexual-
     predator-opioid-prescriber-feds-say/1105516001/) at his Jackson clinics in an April indictment following years of investigation by federal and state
     authorities.


     In a conversation that lasted just a few minutes, Young chatted with two undercover female officers about marijuana legalization and drinking with
     coworkers. He invited them to a Halloween party he was hosting at his home. He also prescribed one of the women powerful narcotics typically reserved
     for advanced-stage cancer patients (https://www.cdc.gov/drugoverdose/opioids/fentanyl.html), seemingly without review of any documented medical
     history.


                                                                      The footage is detailed in an argument released Monday by United States Attorney Michael Dunavant
                                                                      encouraging the court to uphold the decision to detain Young until trial. It first appeared in federal court during
                                                                      Young's second detention hearing in May, after which a federal judge deemed Young a "danger to the
                                                                      community" and ordered he be held in jail (/story/news/crime/2019/05/20/rock-doc-jeffrey-young-jailed-opioid-
                                                                      prescription-sexual-predator-jackson/3748514002/) pending his trial date, which has not yet been set.

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                    Nurse practitioner Jeffery W.
                    Young II points to a painting of
                    himself during an art showcase at


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                            his former PreventaGenix clinic in
a0BbiAc9XvcpxlVz7P5dTqkR0hva3P4pHNTkgOIWL_zbYSDnP0HxQq3EFbkrGKhF0wW42A4zpwkaS7pUmvaJ0te2_CEONQM3vjOzbTS332yTk-
                            Jackson, Tenn. (Photo: GAIL
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story/the-many-faces-of-pride/)
                    BAILEY/The Jackson Sun)




     Young's attorney announced his intent to appeal Young's detention (/story/news/crime/2019/06/26/rock-doc-jeffrey-youngs-attorney-attempt-appeal-
     detention/1570826001/) in June.


                  Short visit, few questions asked
     The two officers arrived at Young's clinic together and were allowed to be treated in the exam room at the same time. Tennessee Bureau of Investigation
     Agent John Chew testified in May that the officers fit Young's "type:" young, attractive women in search of pain relief.

     One of the officers had visited the clinic a few times before, Chew testified, but Young had never met the other woman. He prescribed the officers
     oxycodone and fentanyl after a brief discussion of their pain and medical history.



     The woman that Young had never met told him that oxycodone and marijuana "worked" for her, but added she never had an x-ray or MRI to assess the
     source of her pain. The video shows Young telling the officers that he supports the use of marijuana, identifying himself as a member of the National
     Organization for the Reform of Marijuana Laws.


     In the duration of the recorded visit — no more than 10 minutes — Young never asks the woman if other physicians prescribed her these drugs. It's not
     clear where or how she obtained them. It's also not clear if Young's clinic conducted a urine screen or reviewed the officers' histories on the Controlled
     Substance Monitoring Database, which allows physicians to view a patient's current prescriptions to combat a practice known as "doctor shopping."


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     Young's attorney Claiborne Ferguson contended that these steps could have happened during patient intake in the waiting room or at another time off-
     camera.


                  Feds: State missed 'worst of the worst'
     This undercover operation is just one piece of what federal prosecutors called a "mountain of evidence" that Young could not be trusted to lawfully and
     ethically treat patients.

     Federal prosecutors allege Young prescribed 1.4 million pills and 1,500 fentanyl patches (/story/news/local/2019/04/18/7-2-million-known-opioid-pills-
     prescribed-3-years-3-charged-arpo-operation/3513649002/) without medical need between 2014 and 2017.

     TBI Medicaid Fraud Control Unit Consultant Natalie Seabolt testified in May that a review of Young's CSMD history showed he often did not consult the
     database before prescribing opioids, and many of his patients at his Jackson clinic Genexis were in fact receiving controlled drugs from other physicians.

     Though Young's prescribing power for certain controlled drugs was limited by a state nursing board (/story/money/industries/health-
     care/2018/11/13/tennessee-nurse-overprescribe-opioids-jeffrey-young-rock-doc-dea-raid/1926865002/) after Young settled over-prescribing charges
     against him in Nov. 2018, he continued to prescribe benzodiazepines and schedule IV opioid Stadol to patients at Genexis, the United States Attorney's
     argument states.

     These allegations are in addition to multiple accounts of patient privacy violations, intimidation, manipulation of local law enforcement
     (/story/news/crime/2019/08/19/tennessee-rock-doc-jeffrey-young-manipulating-cops/1967421001/) and sexual encounters with patients.

     In his appeal, Ferguson argued that the court should have deferred to the judgement made by the state nursing board in November, allowing Young to
     continue his practice under restrictions and supervision.


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     A USA TODAY Network - Tennessee investigation (/story/news/health/2019/08/12/nurse-practitioner-rock-doc-jeffrey-young-prescribing-opioids-sexual-
a0BbiAc9XvcpxlVz7P5dTqkR0hva3P4pHNTkgOIWL_zbYSDnP0HxQq3EFbkrGKhF0wW42A4zpwkaS7pUmvaJ0te2_CEONQM3vjOzbTS332yTk-
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     assault-preventagenix/1269483001/) revealed in August that the state board received numerous complaints against Young, some of which were never
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     investigated. A Department of Health spokesperson said investigations are sometimes hindered because the state board lacks the ability to subpoena
     witnesses, a point that federal prosecutors claim meant the board missed "the 'worst of the worst'" evidence.

     "Young is likely to be dangerous whether or not the Board allows him to prescribe controlled substances," federal prosecutors argued in the documents
     submitted Monday.
                   DIG DEEPER
                   "Rock Doc" Jeffrey Young




                        The Tennessee Rock Doc: Sex, drugs and a 'costly mistake'
                        (https://www.tennessean.com/story/news/health/2019/08/12/nurse-practitioner-rock-doc-jeffrey-young-
                        prescribing-opioids-sexual-assault-preventagenix/1269483001/?
                        utm_source=oembed&utm_medium=onsite&utm_campaign=storylines&utm_content=news&utm_term=3770828002)

                        Tennessee ‘Rock Doc’ accused of manipulating local cops while dealing drugs
                        (https://www.jacksonsun.com/story/news/crime/2019/08/19/tennessee-rock-doc-jeffrey-young-manipulating-
                        cops/1967421001/?
                        utm_source=oembed&utm_medium=onsite&utm_campaign=storylines&utm_content=news&utm_term=3770828002)

                        'Rock Doc' Jeffrey Young deemed 'danger to the community' by judge, jailed pending trial
                        (https://www.jacksonsun.com/story/news/crime/2019/05/20/rock-doc-jeffrey-young-jailed-opioid-prescription-
                        sexual-predator-jackson/3748514002/?
                        utm_source=oembed&utm_medium=onsite&utm_campaign=storylines&utm_content=news&utm_term=3770828002)

                        Tennessee 'RockDoc' a 'sexual predator' who should not have kept his nursing license, feds say
                        (https://www.tennessean.com/story/news/health/2019/05/06/tennessee-rockdoc-jeffrey-young-sexual-predator-
                        opioid-prescriber-feds-say/1105516001/?
                        utm_source=oembed&utm_medium=onsite&utm_campaign=storylines&utm_content=news&utm_term=3770828002)

                        Tennessee 'Rock Doc' traded opioids and fentanyl patches for sex, feds say
                        (https://www.jacksonsun.com/story/news/health/2019/04/17/tennessee-nurse-jeffrey-young-rock-doc-drug-
                        traf cking/3495587002/?
                        utm_source=oembed&utm_medium=onsite&utm_campaign=storylines&utm_content=news&utm_term=3770828002)



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a0BbiAc9XvcpxlVz7P5dTqkR0hva3P4pHNTkgOIWL_zbYSDnP0HxQq3EFbkrGKhF0wW42A4zpwkaS7pUmvaJ0te2_CEONQM3vjOzbTS332yTk-
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